                 Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 1 of 6 PageID #: 18

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofMississippi
                                                                          __________

                 REGINA JOHNSON, ETC.                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 4:21cv62-MPM-JMV
                                                                     )
        UNIVERSITY OF MISSISSIPPI, ET. AL.                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mr. Clay Hoyt Jones
                                           900 Stanford Avenue, Apartment 1306
                                           Baton Rouge, Louisiana 70808-3637




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hon. Ellis Turnage
                                           TURNAGE LAW OFFICE
                                           108 North Pearman Avenue
                                           Post Office Box 216
                                           Cleveland, Mississippi 38732


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                DAVID CREWS
                                                                               CLERK OF COURT

              6/11/2021                                                           s/J. REDDITT
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                  Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 2 of 6 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:21cv62-MPM-JMV

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Mr. Clay Jones
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 3 of 6 PageID #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofMississippi
                                                                          __________

                 REGINA JOHNSON, ETC.                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 4:21cv62-MPM-JMV
                                                                     )
        UNIVERSITY OF MISSISSIPPI, ET. AL.                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mr. Clay Hoyt Jones
                                           608 Centerpointe Cove
                                           Oxford, Mississippi 38655-7719




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hon. Ellis Turnage
                                           TURNAGE LAW OFFICE
                                           108 North Pearman Avenue
                                           Post Office Box 216
                                           Cleveland, Mississippi 38732


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                DAVID CREWS
                                                                               CLERK OF COURT


Date:           6/11/2021                                                           s/J. REDDITT
                                                                                         Signature of Clerk or Deputy Clerk
                  Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 4 of 6 PageID #: 21

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:21cv62-MPM-JMV

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Mr. Clay Jones
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 5 of 6 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofMississippi
                                                                          __________

                 REGINA JOHNSON, ETC.                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 4:21cv62-MPM-JMV
                                                                     )
        UNIVERSITY OF MISSISSIPPI, ET. AL.                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Hon. Lynn Fitch
                                           MISSISSIPPI ATTORNEY GENERAL
                                           Post Office Box 220
                                           Jackson, Mississippi 39205




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Hon. Ellis Turnage
                                           TURNAGE LAW OFFICE
                                           108 North Pearman Avenue
                                           Post Office Box 216
                                           Cleveland, Mississippi 38732


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                DAVID CREWS
                                                                               CLERK OF COURT


Date:       6/11/2021                                                              s/J. REDDITT
                                                                                         Signature of Clerk or Deputy Clerk
                  Case: 4:21-cv-00062-DMB-DAS Doc #: 3 Filed: 06/11/21 6 of 6 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:21cv62-MPM-JMV

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Hon. Lynn Fitch
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
